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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

    PLAINTIFF

                            v.
                                                                    Civil Action No. 22-cv-18
    VERIZON COMMUNICATIONS, INC.,
                                                                    Chief Judge Beryl A. Howell
                            Defendant.


                                   MEMORANDUM AND ORDER

        Plaintiff seeks to proceed under pseudonym in the instant action seeking to quash a

subpoena issued for this person’s phone records to Verizon Communications, Inc. (“Verizon”)

by the United States House of Representatives Select Committee to Investigate the January 6th

Attack on the United States Capitol (“Select Committee”). Compl. ¶ 1, ECF No. 1. Plaintiff

seeks to proceed pseudonymously because his/her “identity is wholly irrelevant to this Court’s

determination of whether the subpoena giving rise to this action is a lawful exercise of

Congressional power and because Plaintiff otherwise has no non-public avenue to stop the

production of Plaintiff’s personal phone records.” Pl.’s Mot. to Proceed Anonymously (“Pl.’s

Mot.”) at 1, ECF No. 3. For the reasons set forth below, plaintiff’s motion is denied. 1

I.      BACKGROUND

        On June 30, 2021, the U.S. House of Representatives passed House Resolution 503,

“Establishing the Select Committee to Investigate the January 6th Attack on the United States

Capitol,” Compl. ¶ 6, in order to investigate “the facts, circumstances, and causes relating to




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          See LCvR 40.7(f) (providing that the Chief Judge shall “hear and determine . . . motion[s] to seal the
complaint, motion[s] to seal the address of the plaintiff, and motion[s] to file a pseudonymous complaint”); see
also LCvR 5.1(h)(1) (“Absent statutory authority, no case or document may be sealed without an order from the
Court.”).


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the domestic terror attack on the Capitol” and “identify, review, and evaluate the causes of

and the lessons learned from the domestic terrorist attack on the Capitol,” id. ¶ 9 (quoting H.

Res. 503 Sec. 4). On December 15, 2021, the Select Committee issued a subpoena to Verizon

“seeking records concerning phone numbers listed [on the subpoena].” Id. ¶ 12. Two days

later, Verizon informed plaintiff and plaintiff’s counsel about receipt of the subpoena

“requiring the production of certain records associated with the phone number” associated

with plaintiff. Id. ¶ 13. Verizon also forwarded a copy of the subpoena, but with the section

identifying plaintiff’s phone number redacted, as this section also included “those of other

Verizon subscribers.” Id. The subpoena requested “subscriber information and cell phone

data” including “subscriber names and contact information,” which “could include all calls,

text messages, and other records of communications associated with the phone number.” Id. ¶

15. To plaintiff’s knowledge, the subpoena “does not name Plaintiff,” and the Select

Committee “provided no notice to Plaintiff that it was seeking Plaintiff’s records.” Pl.’s Mot.

at 2.

        Plaintiff filed the instant suit seeking a declaratory judgment that “the Select

Committee’s subpoena is unenforceable and . . . unlawful,” Compl. ¶¶ 23, 27, and an

injunction against production of plaintiff’s records to the Select Committee, id. ¶ 32.

Asserting that “Plaintiff’s identity is wholly irrelevant to this Court’s determination of

whether the subpoena giving rise to this action is a lawful exercise of Congressional power

and because Plaintiff otherwise has no non-public avenue to stop the production of Plaintiff’s

personal phone records,” he/she moves to proceed under pseudonym. Pl.’s Mot. at 1.




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II.    LEGAL STANDARD

       Generally, a complaint must state the names of the parties and address of the plaintiff.

FED. R. CIV. P. 10(a) (“The title of the complaint must name all the parties.”); FED. R. CIV. P.

11(a) (requiring “[e]very pleading, written motion, and other paper,” including submissions

by an unrepresented party, to “be signed” with “the signer’s address, e-mail address, and

telephone number”); LCVR 5.1(c)(1) (“The first filing by or on behalf of a party shall have in

the caption the name and full residence address of the party,” and “[f]ailure to provide the

address information within 30 days of filing may result in the dismissal of the case against the

defendant.”); LCvR 11.1 (same requirement as LCvR 5.1(c)(1)). The Federal and Local

Rules thus promote a “presumption in favor of disclosure [of litigants’ identities], which

stems from the ‘general public interest in the openness of governmental processes,’ . . . and,

more specifically, from the tradition of open judicial proceedings.” In re Sealed Case, 931

F.3d 92, 96 (D.C. Cir. 2019) (internal citations omitted) (quoting Wash. Legal Found. v. U.S.

Sentencing Comm’n, 89 F.3d 897, 899 (D.C. Cir. 1996)). That “presumption of openness in

judicial proceedings is a bedrock principle of our judicial system.” In re Sealed Case, 971

F.3d 324, 325 (D.C. Cir. 2020) (citing Courthouse News Serv. v. Planet, 947 F.3d 581, 589

(9th Cir. 2020)). Accordingly, courts “generally require parties to a lawsuit to openly identify

themselves to protect the public’s legitimate interest in knowing all of the facts involved,

including the identities of the parties.” Id. at 326 (internal quotation marks and alterations

omitted) (quoting United States v. Microsoft Corp., 56 F.3d 1448, 1463 (D.C. Cir. 1995) (per

curiam)).

       Despite the presumption in favor of disclosure, the Federal Rules of Civil Procedure

provide a narrow set of circumstances in which a party or nonparty’s name and other filings




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may be redacted to protect privacy by limiting public access. See, e.g., FED. R. CIV. P. 5.2

(a)(1)–(4) (requiring, “[u]nless the court orders otherwise,” use of only initials for minors, and

only partial birthdates and social-security, taxpayer-identification, and financial account

numbers); FED. R. CIV. P. 5.2(e)(1) (authorizing court order, for good cause, to “require

redaction of additional information”).

        Courts also, in special circumstances, may permit a party to proceed anonymously. A

party seeking to do so, however, “bears the weighty burden of both demonstrating a concrete

need for such secrecy, and identifying the consequences that would likely befall it if forced to

proceed in its own name.” In re Sealed Case, 971 F.3d at 326. Once that showing has been

made, “the court must then ‘balance the litigant’s legitimate interest in anonymity against

countervailing interests in full disclosure.’” Id. (quoting In re Sealed Case, 931 F.3d at 96).

When weighing those concerns, five factors, initially drawn from James v. Jacobson, 6 F.3d

233, 238 (4th Cir. 1993), serve as “guideposts from which a court ought to begin its analysis.”

In re Sealed Case, 931 F.3d at 97. These five factors are:

        (1) whether the justification asserted by the requesting party is merely to avoid the
        annoyance and criticism that may attend any litigation or is to preserve privacy in
        a matter of [a] sensitive and highly personal nature; (2) whether identification
        poses a risk of retaliatory physical or mental harm to the requesting party or[,]
        even more critically, to innocent non-parties; (3) the ages of the persons whose
        privacy interests are sought to be protected; (4) whether the action is against a
        governmental or private party; and relatedly, (5) the risk of unfairness to the
        opposing party from allowing an action against it to proceed anonymously.

Id. (citing James, 6 F.3d at 238).

        At the same time, a court must not simply “engage in a wooden exercise of ticking the

five boxes.” Id. Rather, the “balancing test is necessarily flexible and fact driven” and the

five factors are “non-exhaustive.” In re Sealed Case, 971 F.3d at 326. In exercising discretion

“to grant the rare dispensation of anonymity . . . the court has ‘a judicial duty to inquire into the



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circumstances of particular cases to determine whether the dispensation is warranted’ . . .

tak[ing] into account the risk of unfairness to the opposing party, as well the customary and

constitutionally-embedded presumption of openness in judicial proceedings.” Microsoft

Corp., 56 F.3d at 1464 (quoting James, 6 F.3d at 238 (other internal citations and quotation

marks omitted)).

III.   DISCUSSION

       At this early stage of the litigation, this Court is not persuaded that plaintiff has met

the burden of showing that legitimate privacy interests held by plaintiff outweigh the public’s

presumptive interest in knowing the details of this litigation. Plaintiff has articulated no

privacy interest sufficient to rebut the presumption in favor of open proceedings.

       The first James factor—“whether the justification asserted by the requesting party is

merely to avoid the annoyance and criticism that may attend any litigation or is to preserve

privacy in a matter of [a] sensitive and highly personal nature,” In re Sealed Case, 931 F.3d at

97—weighs against plaintiff. Plaintiff argues that pseudonymity is justified because the

Select Committee subpoena does not identify “the individuals believed to be affiliated with

those [phone] numbers,” and without a grant of anonymity, “Plaintiff would be forced to

reveal their identity to the public without the Select Committee having to show any basis for

the disclosure of the same.” Pl.’s Mot. at 5. Plaintiff further argues that his/her identity is

“wholly irrelevant” to the question of whether the Select Committee had “demonstrate[d] that

it has a valid legislative purpose” for seeking plaintiff’s phone records, and thus, whether the

subpoena was issued legally. Id. (internal quotations omitted).

       Plaintiff’s arguments are misguided. To be sure, the Select Committee’s subpoena

puts plaintiff in the position of having to choose whether to fight the subpoena publicly by




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asserting his/her rights, or acquiesce to the production of phone records, but such choices are

part of “the annoyance and criticism that may attend any litigation.” In re Sealed Case, 931

F.3d at 97. Whether the Select Committee has the requisite factual basis to seek plaintiff’s

phone records is a question for the district judge randomly assigned to this case to adjudicate

on the merits. Merely because the Select Committee allegedly did not disclose plaintiff’s

identity in seeking the subpoena is irrelevant to the question of whether plaintiff may proceed

with this suit in federal court without doing so. Furthermore, the “relevance” of a plaintiff’s

identity to the underlying claims carries little weight in determining whether his/her privacy

interests outweigh the public’s presumptive interest in knowing the details of the litigation.

Plaintiffs regularly litigate suits under their own names where their personal identity is

irrelevant to the substance of the case; even if plaintiff’s identity has no bearing on the legal

basis for the Select Committee’s subpoena, this separation does not justify removing

plaintiff’s identifying information from the legal proceeding entirely. The first James factor

weighs against permitting plaintiff to proceed pseudonymously.

       The second James factor, “whether identification poses a risk of retaliatory physical or

mental harm,” In re Sealed Case, 931 F.3d at 97, further weighs against plaintiff because the

asserted risk of retaliatory harm is both speculative and minimal. Plaintiff asserts that this

“challenge to the Select Committee’s subpoena could subject Plaintiff to retaliation by the

Select Committee or its members, whom [sic] have publicly threatened criminal referrals for

recalcitrant witnesses.” Pl’s Mot. at 6 (internal quotations omitted). Yet, plaintiff provides no

indication that such retaliation has occurred in the context of third-party subpoenas for phone

records, which is the context here. Plaintiff further asserts that public disclosure of his/her

name could lead to being “criticized relentlessly.” Id. at 6–7 (citing, inter alia, a Twitter




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thread). The risk of harassment and criticism plaintiff describes represents the quintessential

“annoyance and criticism that may attend any litigation,” In re Sealed Case, 931 F.3d at 97,

and is far less severe than the degree of serious mental harm or physical danger necessary to

override the strong public interest in transparent legal proceedings. See Qualls v. Rumsfeld,

228 F.R.D. 8, 12 (D.D.C. 2005) (“bringing litigation can subject a plaintiff to scrutiny and

criticism and can affect the way plaintiff is viewed by coworkers and friends, but fears of

embarrassment or vague, unsubstantiated fears of retaliatory actions by higher-ups do not

permit a plaintiff to proceed under a pseudonym”); see also Doe v. Court of Common Pleas,

No. 17-cv-1304 (CB), 2017 WL 5069333, at *2 (W.D. Pa. Nov. 3, 2017) (denying request

from plaintiff probation officer to proceed under pseudonym based on argument “that

anonymity is necessary to protect her from unwanted media attention and a potentially

negative public response to the allegations in the Complaint” as “not sufficient to outweigh

the public’s right to access court proceedings.”). The second James factor weighs against

granting plaintiff’s motion.

       Likewise, the third James factor, “the ages of the persons whose privacy interests are

sought to be protected,” In re Sealed Case, 931 F.3d at 97, weighs against granting plaintiff’s

motion because the privacy interests of minors are not implicated.

       The fourth James factor also weighs against granting plaintiff’s motion. While the

named defendant is Verizon, a non-governmental actor, the substance of this lawsuit is plainly

to challenge the investigative scope and purposes of the Select Committee, and the law is

well-settled that “there is a heightened public interest when an individual or entity files a suit

against the government.” In re Sealed Case, 971 F.3d at 329.




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          The fifth James factor weighs slightly in plaintiff’s favor because allowing plaintiff to

proceed under pseudonym will not prejudice the named defendant, Verizon, in any way.

Plaintiff’s identity is known to Verizon, as the company wrote to “Plaintiff to advise that

Verizon received a subpoena for Plaintiff’s phone records.” Pl.’s Mot. at 4. Thus, allowing

plaintiff to proceed under pseudonym would not compromise defendant’s ability to defend

this action and would pose no “risk of unfairness to the opposing party.” Nat’l Ass’n of

Waterfront Emp’rs v. Chao, 587 F. Supp. 2d 90, 99 (D.D.C. 2008).

          Taking these factors together, plaintiff has presented no compelling justification for

“the rare dispensation of pseudonymous status,” In re Sealed Case, 971 F.3d at 328, and thus

has failed to demonstrate a need for secrecy or identify consequences likely to befall plaintiff

if he/she proceeded in his/her own name.

IV.       CONCLUSION AND ORDER

          For the foregoing reasons, it is hereby

          ORDERED that the plaintiff’s Motion to Proceed Anonymously is DENIED; and it is

further

          ORDERED that the Clerk of Court shall strike plaintiff’s Complaint on the docket

and not refile the Complaint unless it is filed with plaintiff’s full name in accordance with this

Memorandum and Order.

          SO ORDERED.

          Date: January 19, 2022
                                                        __________________________
                                                        BERYL A. HOWELL
                                                        Chief Judge




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